                  Case 5:21-cv-01655-BLF Document 42 Filed 03/07/22 Page 1 of 6




 1 BRIAN M. BOYNTON                                           Samara Spence* (DC Bar No. 1031191)
   Principal Deputy Assistant Attorney General                Jeffrey B. Dubner* (DC Bar No. 1013399)
 2                                                            Sean A. Lev* (DC Bar. No. 449936)
   ERIC BECKENHAUER                                           Democracy Forward Foundation
 3
   Assistant Branch Director                                  P.O. Box 34553
 4 Civil Division                                             Washington, DC 20043
                                                              sspence@democracyforward.org
 5 STEVEN A. MYERS (NY Bar # 4823043)                         jdubner@democracyforward.org
   Senior Trial Counsel                                       slev@democracyforward.org
 6 United States Department of Justice                        (202) 701-1785
   Civil Division, Federal Programs Branch                    (202) 448-9090
 7
   1100 L St. NW
 8 Washington, DC 20005                                       Counsel for Plaintiffs
   Tel: (202) 305-8648
 9 Fax: (202) 616-8470                                        Additional counsel listed on signature block
   E-mail: steven.a.myers@usdoj.gov                           * Admitted pro hac vice
10

11 Attorneys for Defendants

12

13                                  UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF CALIFORNIA
14                                        SAN JOSE DIVISION

15
     COUNTY OF SANTA CLARA, et al.,                   ) Case No. 5:21-cv-01655-BLF
16                                                    )
             Plaintiffs,                              ) JOINT STATUS REPORT AND STIPULATED
17                                                    ) REQUEST FOR ORDER CONTINUING STAY
        v.                                            )
18                                                    )
     U.S. DEPARTMENT OF HEALTH AND                    )
19   HUMAN SERVICES, et al.,                          )
                                                      )
20                                                    )
             Defendants.                              )
21

22
             Pursuant to the Court’s Order of February 1, 2022, see ECF No. 41, the parties respectfully submit
23
     the following joint status report addressing further proceedings, together with a stipulated request for an
24
     order continuing the stay of this action through June 7, 2022.
25
             1.      This is an Administrative Procedure Act (“APA”) case in which Plaintiffs challenge a final
26
     rule promulgated by the U.S. Department of Health and Human Services (“HHS”) entitled Securing
27
     Updated and Necessary Statutory Evaluations Timely, 86 Fed. Reg. 5694 (Jan. 19, 2021) (the “SUNSET
28
     JOINT STATUS REPORT AND STIPULATED REQUEST FOR ORDER CONTINUING STAY
     CASE NO. 5:21-CV-01655-BLF
                 Case 5:21-cv-01655-BLF Document 42 Filed 03/07/22 Page 2 of 6




 1 Rule”). The SUNSET Rule provides, in essential part, that nearly all regulations issued by HHS in Titles

 2 21, 42, and 45 of the Code of Federal Regulations shall expire at the end of (1) five calendar years after

 3 the year that the SUNSET Rule first becomes effective, (2) ten calendar years after the year of the

 4 regulation’s promulgation, or (3) ten calendar years after the last year in which HHS assessed and, if

 5 required, reviewed the regulation, whichever is latest.

 6          2.      Plaintiffs filed their complaint challenging the SUNSET Rule on March 9, 2021. See ECF

 7 No. 1. Plaintiffs alleged that the SUNSET Rule is ultra vires, see id. ¶¶ 123-30; arbitrary and capricious,

 8 see id. ¶¶ 131-33; in violation of the APA’s notice-and-comment requirements, see id. ¶¶ 134-39; and in

 9 violation of HHS’s Tribal Consultation Policy, see id. ¶¶ 140-44. Plaintiffs further alleged that the

10 SUNSET Rule threatens imminent and irreparable harm to them and the general public, including by

11 creating regulatory confusion and uncertainty that will impede their ongoing operations, budgeting, and

12 planning activities. See, e.g., id. ¶¶ 100-02; see generally id. ¶¶ 95-122.

13          3.      As promulgated, the SUNSET Rule was scheduled to become effective on March 22, 2021.

14 See 86 Fed. Reg. at 5694. Shortly before the SUNSET Rule became effective, HHS postponed its effective

15 date for one year, to March 22, 2022, pursuant to 5 U.S.C. § 705. See 86 Fed. Reg. 15,404 (2021). While

16 HHS did not concede liability, HHS stated that it “believes that the Court could find merit in some of

17 Plaintiffs’ claims.” Id. at 15,405. In particular, HHS stated that, in contrast to its prior findings, it “now

18 believes it is likely some regulations would expire without any additional process” and that this outcome

19 raises legal questions about whether “regulations promulgated through notice and comment rulemaking

20 can be terminated through an umbrella rule without individual consideration of the expiring regulations,

21 including any reliance interests.” Id. at 15,406. HHS further stated that it “may have significantly

22 underestimated the burden” of the rule and that the rule’s magnitude and timing “may have impeded the

23 full and deliberate consideration of all the potential issues related to the SUNSET rule.” Id.

24          4.      On October 28, 2021, HHS issued a Notice of Proposed Rulemaking proposing to withdraw

25 or repeal the SUNSET Rule. See Dep’t of Health & Human Servs., Securing Updated and Necessary

26 Statutory Evaluations Timely; Proposal to Withdraw or Repeal, 86 Fed. Reg. 59,906 (Oct. 29, 2021).

27 HHS stated that it “reexamined the SUNSET final rule in light of the allegations in” this case, among other

28
     JOINT STATUS REPORT AND STIPULATED REQUEST FOR ORDER CONTINUING STAY
     CASE NO. 5:21-CV-01655-BLF
                  Case 5:21-cv-01655-BLF Document 42 Filed 03/07/22 Page 3 of 6




 1 things.        Id. at 59,908.   The comment period closed on December 28, 2021, and HHS received

 2 approximately 80 comments. If the withdrawal rule were to issue as proposed, Plaintiffs’ claims in this

 3 case may become moot.

 4           5.        Last week, HHS postponed the effective date of the SUNSET Rule for an additional six

 5 months, to September 22, 2022. See 87 Fed. Reg. 12,399. HHS does not concede liability, but it explained

 6 that the interests of justice warranted a further stay of the effective date through September 22 because

 7 “(1) A postponement will permit HHS to continue and complete its review of the SUNSET final rule in

 8 light of the claims raised in the litigation; (2) the resolution of the rulemaking will inform the government’s

 9 position in this lawsuit; and (3) based on HHS’s review of the Complaint, HHS believes that the Court

10 may find that: (a) Some of Plaintiffs’ claims have merit; (b) Plaintiffs’ allegations of harm are credible;

11 and (c) the balance of equities and the public interest warrant postponement of the effective date to

12 preserve the status quo while the Court considers the challenge to the SUNSET final rule.” Id. at 12,399.

13 HHS’s present expectation is that it will complete any rulemaking prior to the new effective date, and that

14 further postponements will not issue.

15           6.        The parties therefore jointly request that the Court continue the stay of this action through

16 June 7, 2022, and direct the parties to file a joint status report proposing a schedule for further proceedings

17 by that date.

18 Date: March 7, 2022                                       Respectfully submitted,

19                                                           BRIAN M. BOYNTON
                                                             Principal Deputy Assistant Attorney General
20
                                                             ERIC BECKENHAUER
21                                                           Assistant Branch Director
                                                             Civil Division
22
                                                             /s/ Steven A. Myers
23                                                           STEVEN A. MYERS (NY Bar # 4823043)
                                                             Senior Trial Counsel
24                                                           United States Department of Justice
                                                             Civil Division, Federal Programs Branch
25                                                           1100 L St. NW
                                                             Washington, DC 20005
26                                                           Tel: (202) 305-8648
                                                             Fax: (202) 616-8470
27                                                           E-mail: steven.a.myers@usdoj.gov

28                                                           Attorneys for Defendants
     JOINT STATUS REPORT AND STIPULATED REQUEST FOR ORDER CONTINUING STAY
     CASE NO. 5:21-CV-01655-BLF
             Case 5:21-cv-01655-BLF Document 42 Filed 03/07/22 Page 4 of 6




 1

 2                                              /s/ Jeffrey B. Dubner
                                                Jeffrey B. Dubner* (DC Bar No. 1013399)
 3                                              Samara Spence* (DC Bar No. 1031191)
 4                                              Sean A. Lev* (DC Bar. No. 449936)
                                                Democracy Forward Foundation
 5                                              P.O. Box 34553
                                                Washington, DC 20043
 6                                              sspence@democracyforward.org
                                                jdubner@democracyforward.org
 7                                              slev@democracyforward.org
 8                                              Telephone: (202) 448-9090

 9                                              Counsel for All Plaintiffs

10                                              James R. Williams (CA Bar No. 271253)
                                                County Counsel
11                                              Greta S. Hansen (CA Bar No. 251471)
                                                Douglas M. Press (CA Bar No. 168740)
12
                                                Laura S. Trice (CA Bar No. 284837(
13                                              Office of the County Counsel
                                                County of Santa Clara
14                                              70 West Hedding Street, East Wing, 9th Fl.
                                                San José, CA 95110-1770
15                                              laura.trice@cco.sccgov.org
                                                Telephone: (408) 299-5900
16

17                                              Counsel for the County of Santa Clara

18                                              Lisa S. Mankofsky* (DC Bar No. 411931)
                                                Matthew Simon* (DC Bar No. 144727)
19                                              Center for Science in the Public Interest
                                                1250 I Street, NW, Ste. 902
20                                              Washington, DC 20005
                                                lmankofsky@cspinet.org
21
                                                msimon@cspinet.org
22                                              Telephone: (202) 777-8381

23                                              Counsel for Center for Science in the Public
                                                Interest
24

25                                              Adeline S. Rolnick*
                                                Natural Resources Defense Council
26                                              1152 15th Street NW, Ste. 300
                                                Washington, DC 20005
27                                              arolnick@nrdc.org
                                                Telephone: (202) 513-6240
28
     JOINT STATUS REPORT AND STIPULATED REQUEST FOR ORDER CONTINUING STAY
     CASE NO. 5:21-CV-01655-BLF
             Case 5:21-cv-01655-BLF Document 42 Filed 03/07/22 Page 5 of 6




 1
                                                         Counsel for Natural Resources Defense Council
 2
                                                         * Admitted pro hac vice
 3

 4

 5                                    LOCAL RULE 5-1(i) ATTESTATION
 6         I attest that I have obtained Jeffrey Dubner’s concurrence in the filing of this document.
 7
                                                 /s/ Steven A. Myers
 8                                               Steven A. Myers

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
     JOINT STATUS REPORT AND STIPULATED REQUEST FOR ORDER CONTINUING STAY
     CASE NO. 5:21-CV-01655-BLF
              Case 5:21-cv-01655-BLF Document 42 Filed 03/07/22 Page 6 of 6




 1                                          [PROPOSED] ORDER

 2          PURSUANT TO STIPULATION, IT IS SO ORDERED. The case shall remain STAYED through

 3 June 7, 2022, by which date the parties shall submit a joint status report proposing a schedule for further

 4 proceedings.

 5

 6 Dated: __________________________                     __________________________________
                                                         HON. BETH LABSON FREEMAN
 7                                                       UNITED STATES DISTRICT JUDGE
 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
     JOINT STATUS REPORT AND STIPULATED REQUEST FOR ORDER CONTINUING STAY
     CASE NO. 5:21-CV-01655-BLF
